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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                 )
                                          )
                    Plaintiff,            )                 8:12CR271-2
                                          )
             V.                           )
                                          )
KELLY ROSBERG,                            )                   ORDER
                                          )
                    Defendant.            )
                                          )


      IT IS ORDERED that:

     (1) The motion to withdraw as counsel (filing 73) will be heard on Friday,
March 22, 2013, at 2:00 p.m., in the Special Proceedings Courtroom, Roman L.
Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska.

      (2) If the court grants the motion to withdraw and allows Mrs. Rosberg to
proceed pro se, it is likely that the court will appoint Mr. Nelson to appear as standby
counsel.

      DATED this 27th day of February, 2013.

                                        BY THE COURT:

                                        Richard G. Kopf
                                        Senior United States District Judge
